Case 2:10-cv-08888-CJB-JCW Document 79361 Filed 04/20/11 Page 1of3

IN RE: OIL SPILL by “Deepwater Horizon” ong a
DIRECT FILING SHORT FORM' yg, F808

Authorized by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982 “ Pe, “ok #
(Copies of said Order having also been filed in Civil Actions No. 10-8888 and 10-2 iy a

 }
"
rc
a,
‘

MDL 2179 SECTION: J JUDGE CARL BARE e se
CLAIM iN LIMITATION-JOINDER IN MASTER ANSWER--INTERVENTION AND . one DER! “¢
IN - MASTER COMPLAINTS — PLAINTIFF/CLAIMANT PROFILE FORM. oe

By Submitting this document, le am asserting a claim in Complaint and Petition of Triton Asset Leasing ¢ GmbH, et
al., No. 10-2771; adopt and incorporate the Master Answer [Rec. Doc. 244] to the Complaint and Petition of Triton
Asset Leasing Gmbh, et al., in No. 16-2771; and/or intervene into, join and otherwise adopt the Master Complaint
[Rec. Doc. 879] for private economic losses {“B1 Bundle”) filed in MDL No. 2179 (10 md 2179); and/or intervene
into, join and otherwise adopt the Master Complaint (Rec. Doc. 881] for post-explosion injuries ("B3 Bundle”)
filed in MDL No. 2179 {16 md 2179).

“CRO K “De ‘Luna
mene + 05k: 5a- CON eee 4@.yahn Con
a :

! Silty / State / Zip
| walk! ry)

INDIVIDUAL CLAIM f
tae beetecuee: Lo ces i. secu
Employer Name “Unem lp Business Name Q /
Job Title / ‘Description 0 Y || De of uote ~ oo a
Address : a : Address. a
“iy state (zip ee anna tity Sate Zip fo cee
| Last 4 digits of your rf ‘ey Number Last 4 digits of your Tax IDAlumber NY
Attorney Name - Firm Name \ /
Address Oo Oe ~ Gity / State / Zip
Phone Number " SN OO E-Mail Address NT

Claim filed with BP’?

if yes, BP Claim No.: 2033 g

Clain Type (Please check all that apply):

If yes, Claimant tdentification No.:

Damage or destruction to real or personal property Fear of Future Injury and/or Medical Monitoring
Earmings/Profit Loss Loss of Subsistence use of Natural Resources
Personal Injury/Death Removal and/or clean-up costs

Other.

t This form should be filed with the U.5. District Court for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70130, in Civil Action No.
10-8888. While this Direct Filing Short Form is to be filed in CA No. 10-2888, by prior order of the Court, (Rec. Doc. 246, CA. No. 10-2771 and Rec. Doc. 982 in MDL
2179}, the filing of this form in CA. No. 10-8888 shall be deemed to be simultaneously filed in CA. 10-2771 and MDL 2179. Plaintiff Liaison Counsel, after being
notified electronically by the Clerk of Court of the filing of this Short Form, shall promptly serve this form through the Lexis Nexis service system on Defense Liaison.

1

The filing of this Direct Filing Short Form shail also sarve in fiev of the requirement of a Plaintiff to file a Plaindff Profile Form.

Case 2:10-cv-08888-CJB-JCW Document 79361 Filed 04/20/11 Page 2 of 3

Brief Description:

1. For eamings/profit loss, property damage and loss of subsistence u

se_claims, describe the nature of the injury. For claims
cial), and whether physical

involving real éstate/property, include the property location, type of property (residential/commerc
damage occurred. For claims relating to fishing of any type, include the type and location of fishing grounds at issue.

K los*+ Ssumrres.

worked actlocat udadertas |
Dd cot Orn cafe’ lock sumontr Cukor 1A.

DI rave. _ OCR

Cece

*

CO lower

ND ioe C:

ee WOO fakes welay, Gai ot Macon

“casn GOAN vec

2. For versone’ injury claims, describe the injury, how and when it was sustained, and identify alt health care providers and
employers 2008 to present and complete authorization forms for each.

~| Seserol “noes Au like \ SUMOINMS

employer, and where you were working.

Cobttoclap Veac tC

3. For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your

+a tele VOO Clonmo . worlul oa boat
Vusee  ~Hrooan Wooo Caack .

2

Tha filing of this Direct Fiting Short Form shail aiso serve in lieu of the requirament of a Plaintiff to file a Plaindff Profile Form.

Case 2:10-cv-08888-CJB-JCW Document 79361 Filed 04/20/11 Page 3 of 3

Please check the box(es) below that you think apply to you and your claims:
Non-governmental Economic Loss and Pro Damage Claims (Bundie B1

oO 1. Commercial fisherman, shrimper, crabber, or oysterman, or the owner and operator of a business involving fish ing, shrimping,
crabbing or oystering. ‘

Oo 2. Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof.
oO 3. Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, or charter
fishing business who earn their living through the use of the Gulf of Mexico.

oO 4. Commercial business, business owner, operator or worker, including commercial divers, offshore oilfield service, repair and
supply, real estate agents, and supply companies, of an employee thereof.

S. Recreational sport fishermen, recreational diver, beachgoer, or recreational beater.

oO 6. Plant and dock worker, including commercial seafood ptant worker, longshoreman, or ferry operator.

oO 7 Owner, lessor, or lessee of rea! propert y alleged to be damaged, harmed cr impacted, physically or economically, including
lessees of oyster beds.

C) 8. Hotel owner and operator, vacation rental owner and agent, or all those who eam their living from the tourism industry.

(J 9. _ Bank, financial institution, or retail business that suffered losses as a result of the spill.

. HK Ard not Coen Colt!

onitarin and Pro Damaae Related to Cleanup (Bundle B3

‘Ng 10. Person who utilizes natural resources for subsistence.

Post-Explosion Personal Injury, Medicai

Ng 1. Boat captain or crew involved in the Vessels of Opportunity program.
oO 2. Worker involved in decontaminating vessels that came into contact with oil and/or chemical dispersants.

oO 3. Vessel captain or crew who was not involved in the Vessels of Opportunity program but who were exposed to harmful chemicals,
odors and emissions during post-explosion clean-up activities.

‘NS 4. Clean-up worker or beach personne! involved in clean-up activities along shorelines and intercoastal and intertidal zones.

5. Resident who lives or works in close proximity to coastal waters.

(16. = Other:

Both BP and the Gulf Coast Claim s Facility (*(GCCF”) are hereby authorized to release to the Defend ants in MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated as “Confidential Access Restricted” under the Order
Protecting Confidentiality (Pre-Trial Order No. 11), and subject to full copies of same being made available to both
the Plaintiff (or his attorney if applicable) filing this form and PSC through Plaintiff Liaison Counsel.

Chimant or Att $l t L. Ceot>
“Delooh t. Copak

Pant Name

4-14

Date

3

The filing of this Direct Filing Short Form shall afso serve fn ilew of the requirement of a Plaintiff to file a Plaintiff Profile Form.

